









Dismissed and Memorandum Opinion filed December 4, 2003









Dismissed and Memorandum Opinion filed December 4,
2003.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-03-01278-CR

____________

&nbsp;

DONALD EUGENE MIMS,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 21st
District Court

Burleson County, Texas

Trial Court Cause No. 11,970 

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp;
O P I N I O N

After a plea of guilty, appellant was convicted of the
offense of obstruction or retaliation on June 28, 1999.&nbsp; Appellant=s notice of appeal was not filed
until November 4, 2003.








A defendant=s notice of appeal must be filed within thirty days after
sentence is imposed when the defendant has not filed a motion for new
trial.&nbsp; See Tex. R. App. P. 26.2(a)(1).&nbsp; A notice of
appeal which complies with the requirements of Rule 26 is essential to vest the
court of appeals with jurisdiction.&nbsp; Slaton v. State, 981 S.W.2d 208, 210 (Tex. Crim. App. 1998).&nbsp;
If an appeal is not timely perfected, a court of appeals does not obtain
jurisdiction to address the merits of the appeal.&nbsp; Under those circumstances it can take no
action other than to dismiss the appeal.&nbsp;
Id.

Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

Judgment rendered and Memorandum
Opinion filed December 4, 2003.

Panel consists of Acting Chief
Justice Eva M. Guzman and Justices Edelman and Frost.

Do Not Publish C Tex. R.
App. P. 47.2(b).

&nbsp;





